Case 5:23-cv-00382-PRW Document 1-1 Filed 05/04/23 Page 1 of 8

IN THE DISTRICT COURT OF OKLAHOMA COUNTY

STATE OF OKLAHOMA
BRENT HARPOLE, LESLIE HARPOLE, ) -
HARP PLUMBING DESIGN, INC., d/b/a)
CHAMPION PLUMBING, )
)
Plaintiffs, ) CJj- 9093 =
VS. Case No. 1 / 56 {
WESCO INSURANCE COMPANY, a )
foreign corporation; SECURITY )
NATIONAL INSURANCE COMPANY, a) FILED IN DISTRICT COURT
foreign corporation; and AMTRUST } OKLAHOMA COUNTY
NORTH AMERICA, a foreign corporation, }
) MAR 2 9 2023
Defendants. ) RICK WARREN
ERK
PETITION 127

The Plaintiffs, Brent Harpole, Leslie Harpole, and Harp Plumbing Design, Inc., d/b/a
Champion Plumbing (hereafter “Champion”), for their Petition against the Defendants, Wesco
Insurance Company, a foreign corporation (“Wesco”), Security National Insurance Company, a
foreign corporation (“Security”), and AmTrust North America, the claims administrator for Wesco

and Security, (“AmTrust”), allege and state:

JURISDICTION AND VENUE
1. Plaintiff, Champion, is a plumbing contractor located in Edmond, Oklahoma.
2. Wesco and Security are insurance companies incorporated in states other than

Oklahoma. They each do business in Oklahoma and issued the insurance policies discussed below
to Champion in Oklahoma County.
3. At all material times, Champion was insured under a primary liability policy issued

by Wesco, Policy No. WPP1842951 02, effective dates December 1, 2021, to December 1, 2022.

Case 5:23-cv-00382-PRW Document 1-1 Filed 05/04/23 Page 2 of 8

4, At all material times, Champion was also insured under a liability, follow-the-form
umbrella insurance policy issued by Security, Policy NO. SMB1796912 01, effective dates
December 2, 2021, to December 2, 2022.

5. On page 9 of 16 in the Liability Insurance Policy issued to Champion by Wesco,
the policy defines who is an insured, Brent Harpole and Leslie Harpole are insureds under the
Wesco policy, as defined therein. As such, both Brent Harpole and Leslie Harpole may bring the
present lawsuit directly against Wesco, Security, and AmTrust under theories of breach of contract
and bad faith.

6.. AmTrust is the claims administrator for Wesco and Security, and wrote letters to
Champion and its owners, Brent Harpole and Leslie Harpole, on October 26, 2022 (on behalf of
Wesco) and on December 16, 2022 (on behalf of Security) denying coverage for a claim asserted
against Champion by one of its customers, Pamela Clem (“Clem”) relating to the installation of a
new stove in Clem’s residence. Clem had alleged that the installation was done by Champion
incorrectly, causing smoke and soot to build up over a period of time, and caused extensive damage
throughout her house. Clem also asserted respiratory distress of an elderly family member, her
husband and herself, and has been forced to seek remediation of her residence.

7. Champion provided timely notice of Clem’s claim to its primary and excess
insurers, Wesco and Security.

8. This Court has subject matter jurisdiction and personal jurisdiction over the

Defendants herein.

9. Venue is proper in Okdahoma County.

Page 2

Case 5:23-cv-00382-PRW Document 1-1 Filed 05/04/23 Page 3 of 8

First CAUSE OF ACTION — WESCO— BREACH OF CONTRACT

The Plaintiffs, above-named, adopt the allegations contained in numerical paragraphs 1-9
above and, in addition, allege and state:

10. At the time of the work performed at Clem’s home by Champion, and at the time
of Clem’s claim against Champion, Champion was insured under a primary commercial general
liability insurance policy issued by Wesco which was purchased by Plaintiffs to provide coverage
for their plumbing operation and the types of claims they might experience in that regard.

11. On October 26, 2022, Wesco, through AmTrust, wrote to Plaintiffs and denied
coverage to Champion. The reasons stated by Wesco, through AmTrust, for the denial of coverage
are erroneous.

12. | Wesco’s coverage position is contrary its insurance policy and reflects a gross lack
of understanding of Oklahoma law. Plaintiffs anticipate discovery in this case will reveal that
Wesco’s adjusters have not been adequately trained on Oklahoma law and claim handling protocol.
The bases for non-coverage, as stated by Wesco through AmTrust, reflect a complete ignorance of
its own policy provisions and Oklahoma law. Wesco went so far as to deny even its duty to defend.

13. Champion was and is entitled to an unconditional defense and indemnity by Wesco.
With Defendants’ permission, Plaintiffs have reached a settlement agreement with Clem,
Plaintiffs are now entitled to be indemnified by Wesco.

14. | Wesco has materially breached its policy issued to Champion, and Plaintiffs have
suffered injuries and damages as a result of that breach. Plaintiffs have been forced to retain

counsel to defend Champion, at Plaintiffs’ expense.

Page 3

Case 5:23-cv-00382-PRW Document 1-1 Filed 05/04/23 Page 4 of 8

WHEREFORE, the Plaintiffs, above-named, pray for judgment against the Defendant,
Wesco, on their claim of breach of contract in an amount in excess of $75,000.00, and any further
relief this Court deems proper and just.

SECOND CAUSE OF ACTION — WESCO — BAD FAITH

The Plaintiffs, above-named, adopt the allegations contained in numerical paragraphs 1-14
above and, in addition, allege and state:

15. Asan insurance company licensed to do business in the state of Oklahoma, Wesco
is bound by Oklahoma law to honor its contractual obligations to its insureds in good faith. As
such, Wesco owes its insureds, these Plaintiffs, a duty to deal fairly and in good faith.

16. | Wesco breached its duty to deal fairly and in good with Plaintiffs by failing to
conduct a full and unbiased investigation into the nature and extent of the claims asserted against
Champion by Clem. In addition, Wesco acted in bad faith by intentionally misreading its policy
and failing to consider reported decisions in Oklahoma and around the country that have addressed
issues similar or identical to those in the present case and have found, at a minimum, a duty to
defend.

17. Wesco breached its duty to deal fairly and in good faith with Plaintiffs by putting
its own interests ahead of Plaintiffs.

18. Upon information and belief, Wesco has an inadequate or nonexistent training
program for its Oklahoma commercial adjusters. Further, upon information and belief, Wesco
delegates its duty to investigate and to analyze insurance coverage to its third-party administrator
(TPA), AmTrust. However, under Oklahoma law, Wesco cannot delegate the duty of good faith.
Wesco is responsible and liable to Plaintiffs for the outrageous and erroneous coverage opinion

stated by AmTrust in its letter to Plaintiffs dated October 26, 2022.

Page 4

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Case 5:23-cv-00382-PRW Document 1-1 Filed 05/04/23 Page 5of8

19. Wesco breached its duty to deal fairly and in good faith with Plaintifis because it
has a claim handling system that encourages and incentivizes claims employees to deny claims,
including denials of a duty to defend when a defense is owed. Wesco encourages this type of
claims handling environment by disregarding and overlooking the duty of good faith and fair
dealing owed to its insureds in favor of its own profitability.

20.  Asaresult of Wesco’s breach of its duty to deal fairly and in good faith, Plaintiffs
have suffered additional injuries and damages in excess of $75,000.00.

21. Punitive damages should be awarded against Wesco in an amount sufficient to
punish Wesco and deter others.

WHEREFORE, the Plaintiffs, above-named, pray for judgment against the Defendant,
Wesco, for actual and punitive damages, all in excess of $75,000.00, and any additional and further
relief this Court deems proper and just.

THIRD CAUSE OF ACTION — SECURITY — BREACH OF CONTRACT AND BAD FAITH

The Plaintiffs, above-named, adopt the allegations contained in numerical paragraphs 1-21
above and, in addition, allege and state:

22, The umbrella policy issued by Security to Plaintiffs requires Security to provide a
defense to its insureds in connection with the claims asserted by Clem against Plaintiffs. Security
has failed and refused to do so, providing the same erroneous coverage analysis through AmTrust.

23. Security has breached its contract to Plaintiffs by denying coverage and refusing to
provide a defense. Plaintiffs have suffered injuries and damages as a result.

24. Security has acted in bad faith by delegating its duty of good faith to a third-party,

AM Trust, which is not competent enough to understand Oklahoma law and apply that law to the

analysis of coverage under the policy issued by Security. AmTrust, and thus Security, are charged

Page §

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Case 5:23-cv-00382-PRW Document 1-1 Filed 05/04/23 Page 6 of 8

with knowledge of Oklahoma law and should have been trained that the duty to defend is broader
than the duty to indemnify. Further, the policy, when properly analyzed by AmTrust, makes clear
that Security owes, at a minimum, a defense to its insureds. Now, in light of Champion’s recent
settlement with Clem, Security is obligated to indemnify Champion.

25. For the same reasons Wesco is guilty of bad faith in connection with its handling
of Plaintiffs’ claim, Security has likewise acted in bad faith.

26. Asa direct and proximate result of the combined actions of Wesco and Security,
outlined above, Plaintiffs have suffered damages.

27. The acts and conduct of Security and Wesco, described above, were reckless,
intentional, wanton, and oppressive, and warrant the imposition of punitive damages against these
Defendants, as punishment and example to Defendants, and to deter others ftom like conduct.

WHEREFORE, the Plaintiffs, above-named, pray for judgment against the Defendant,
Wesco, for actual and punitive damages, all in excess of $75,000.00, and any additional and further
relief this Court deems proper and just.

BaD FAITH — AMTRUST

The Plaintiffs, above named, adopt the allegations contained in numerical paragraphs 1-27
above and, in addition, allege and state:

28. AmTrust states it is acting as the TPA for Wesco and Security. Plaintiffs believe
and therefore allege that AmTrust exercises sufficient control and authority over the outcome of
Plaintiffs’ claims to warrant the filing of Plaintiffs’ bad faith claim against AmTrust. Under these
facts and circumstances, AmTrust owes these Plaintiffs a duty to act fairly and in good faith in

connection with its investigation and analysis of coverage of Champion’s claim for a defense and

Page 6
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Case 5:23-cv-00382-PRW Document 1-1 Filed 05/04/23 Page 7 of 8

indemmity. See, Wolf v. Prudential Insurance Company of America, 50 F.3d 793 (10" Cir. 1995);
Wathor v. Mutual Assur. Adm. Inc., 2004 OK. 2, 87 P.3d 559.

29. Wesco and Security have delegated the duty of good faith to their
agent/representative, AmTrust.

30. | AmTrust has breached its duty of good faith in several particulars, including, but
not limited to, the following: (2) AmTrust has applied an erroneous coverage position, based on
its lack of knowledge of Oklahoma law and lack of knowledge of the policy in question; (b)
AmTrust has searched for ways to deny Plaintiffs’ claim and even refused to provide a defense in
connection with the claims asserted against Champion by Clem due to the lack of training provided
by Wesco and Security to AmTrust, resulting in AmTrust’s lack of understanding of Oklahoma
law and the policy at issue in this lawsuit; (c) AmTrust has wrongfully refused to recommend a
defense to Champion and indemnify Champion in connection with the claims asserted against
Champion by Clem, knowing that Wesco and Security would rely on AmTrust’s recommendation.

31. Asa result of AmTrust’s bad faith conduct, Plaintiffs have suffered injuries and
damages.

32. The actions of AmTrust in connection with its coverage analysis have been
reprehensible and outrageous, warranting the imposition of punitive damages as punishment to
this Defendant and as example to others. Plaintiffs seek actual and punitive damages against
Am Trust in an amount in excess of $75,000.00.

WHEREFORE, the Plaintiffs, above-named, pray for judgment against the Defendant,
AmTrust, on their bad faith claim in an amount in excess of $75,000.00, plus their attorney’s fees,

costs, and pre-judgment interest, and any and all other recovery allowed by law.

Page 7

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ATTORNEY’S LIEN CLAIMED.

JURY TRIAL DEMANDED.

Case 5:23-cv-00382-PRW Document 1-1 Filed 05/04/23 Page 8 of 8

Respectfully submitted,

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Page 8

